                                                               United States Bankruptcy Court
                                                                     Eastern District of Michigan
 In re      Angela Jane-Howey Simpson                                                                    Case No.   16-21964
                                                                                   Debtor(s)             Chapter    7




                            MOTION TO CONVERT CASE FROM CHAPTER 7 TO CHAPTER 13

Pursuant to 11 U.S.C. § 706, the above-named Debtor(s) requests that this court enter an Order converting this case under Chapter 7 to
a case under Chapter 13 of the Bankruptcy code (title 11 of the United States Code), on the grounds set forth below.

1.          On November 6, 2016 , the above-named Debtor(s) filed a Voluntary Petition under Chapter 7 of the Bankruptcy Code.

2.          This case has not been previously converted under 11 U.S.C. § 1112, § 1208, or § 1307.


WHEREFORE, Debtor(s) prays for an Order converting this case under Chapter 7 to Chapter 13 of the Bankruptcy Code.




 Date February 22, 2017                                                Signature   /s/ Angela Jane-Howey Simpson
                                                                                   Angela Jane-Howey Simpson
                                                                                   Debtor
 Attorney /s/ Cristie A. VanMassenhove
                Cristie A. VanMassenhove

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